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 4
     Attorney for Defendant
 5   AUDREY RENEE BELL
 6

 7
                                    IN THE UNITED STATES DISTRICT COURT
 8
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                               SACRAMENTO DIVISION
10

11                                                        )   Case No. CR S 07-0047 LKK
     UNITED STATES OF AMERICA,                            )
12                                                        )
                                        Plaintiff,        )   STIPULATION AND ORDER TO
13                                                        )   EXTEND VOLUNTARY SURRENDER
              vs.                                         )   DATE
14                                                        )
     AUDREY RENEE BELL,                                   )
15                                                        )
                                        Defendant.        )
16

17

18            It is hereby stipulated and agreed to between Plaintiff, UNITED STATES OF

19   AMERICA, through its counsel of record, Matthew Stegman, Assistant United States Attorney,

20   and Defendant, AUDREY BELL, through her counsel of record, Joseph J. Wiseman, that

21   Defendant’s voluntary surrender date of October 29, 2010, be extended to December 10, 2010 at

22   2:00 p.m. The undersigned are entering into this stipulation and requesting this continuance to

23   provide Defendant additional time to continue an ongoing medical evaluation.

24            Defendant BELL has been designated to serve her 60-month federal prison sentence at

25   FCI Victorville, Medium II, in Victorville, California. On August 24, 2010, BELL’s physician

26   ordered her to undergo an ultra sound for a recently discovered lesion on her breast, due to

27   BELL’s strong family history of breast cancer. Following the ultrasound, BELL’s physician

28   referred her to a specialist, who has scheduled her for a biopsy. The biopsy is scheduled for

                                                      1
     Stipulation to Extend Surrender Date                                                 CR 07-0047 LKK
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 1
     November 11, 2010. A copy of the physician’s order is attached as Exhibit A. BELL will require
 2
     a post-surgery examination two weeks following the procedure and has tentatively scheduled this
 3
     appointment for November 29, 2010.
 4
              It would be beneficial to BELL to have the biopsy and post-surgery examination
 5
     completed before she reports to FCI Victorville. It will also aid the Bureau of Prisons in its
 6
     medical assessment of BELL, if she arrives with a diagnosis and treatment plan, if needed.
 7
              Therefore, Defendant requests the Court grant this request to extend her voluntary
 8
     surrender date.
 9
     Dated: October 26, 2010                       Respectfully submitted,
10
                                                   JOSEPH J. WISEMAN, P.C.
11                                                 By:  /s/ Joseph J. Wiseman
                                                        JOSEPH J. WISEMAN
12
                                                        Attorney for Defendant
13                                                      AUDREY BELL

14   Dated: October 26, 2010                       BENJAMIN B. WAGNER
                                                   United States Attorney
15

16                                                 By:     /s/ Matthew Stegman
17
                                                           MATTHEW STEGMAN, AUSA
                                                           Attorney for Plaintiff
18                                                         UNITED STATES OF AMERICA
19

20
                                                  ORDER
21
              A request to extend the time for voluntary surrender having been presented to the Court
22
     and GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT defendant,
23
     AUDREY BELL, shall self-surrender at FCI Victorville, Medium II facility, as designated by the
24
     Bureau of Prisons, on or before December 10, 2010. The Court is granting defendant’s request
25
     to provide Defendant additional time to continue an ongoing medical evaluation.
26
     Dated: October 27, 2010
27

28


                                                    2
     Stipulation to Extend Surrender Date                                                CR 07-0047 LKK
